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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                                 CASE NO. 3:08cr22 LAC

GARY LAKEY

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on November 17, 2008
Motion/Pleadings: MOTION TO SUPPRESS EVIDENCE
Filed by DEFENDANT                      on 11/14/08                      Doc.# 341

RESPONSES:
BY GOVERNMENT                                  on 11/21/08               Doc.# 374
                                               on                        Doc.#
        Stipulated             Joint Pldg.
        Unopposed              Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration      of   the    foregoing,      it     is    ORDERED    this   30 th   day   of
December, 2008, that:
(a) The relief requested is DENIED.
(b)




                                                                  s /L.A. Collier
                                                             LACEY A. COLLIER
                                                   Senior United States District Judge


Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
